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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )           CR 117-047
                                               )
SHAWANDA CUYLER                                )
                                           _________

                                           ORDER
                                           _________

       Pursuant to this Court’s November 15th Order, defense counsel has nominated Dr.

Joseph Frey, III to conduct a psychological evaluation of Defendant. (Doc. no. 117.) Upon

review of his credentials, the Court APPOINTS Dr. Frey to conduct a psychological

evaluation of Defendant.

       IT IS HEREBY ORDERED that Defendant Shawanda Cuyler submit to an examination

by Dr. Joseph Frey, III to determine her competency to stand trial and sanity at the time of the

alleged offense pursuant to 18 U.S.C. §§ 4241 and 4242. Defendant is also directed to cooperate

and comply with all scheduled appointments as deemed necessary by Dr. Frey in order to

complete the mental evaluation.

       IT IS FURTHER ORDERED that Dr. Frey shall make a written report of his findings,

pursuant to 18 U.S.C. § 4247, as soon as practicable and no later than December 20, 2017 to

United States Magistrate Judge Brian K. Epps, Southern District of Georgia, Post Office Box

1504, Augusta, Georgia 30903 (706-849-4420); with a copy to Assistant United States Attorney,

Christopher Troy Clark, Post Office Box 2017, Augusta, Georgia 30903 (706-826-4537); and to
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defense counsel Melissa C. Bray, Durham Law Firm, 2350 Washington Road, Augusta, Georgia

30904 (706-738-7111). Dr. Frey shall prepare a report which shall include:

              1.      Defendant’s history and present symptoms;

              2.      a description of the psychiatric, psychological, and medical tests
                      that were employed and their results;

              3.      the examiners’ findings; and

              4.      the examiners’ opinions as to diagnosis, prognosis and

                      (a) whether Defendant is suffering from a mental disease or defect
              rendering her mentally incompetent to the extent that she is unable to
              understand the nature and consequences of the proceedings against her and
              to assist properly in her defense;

                      (b) whether Defendant was insane at the time of the offenses
              charged; that is, as a result of a severe mental disease or defect, whether
              Defendant was unable to appreciate the nature and quality or wrongfulness
              of her acts; and

                      (c) whether Defendant is suffering from a mental disease or defect
              as a result of which she is in need of custody for care or treatment in a
              suitable facility.

       Upon receipt of Dr. Frey’s report, the Court will file the report under seal and schedule

a competency hearing under 18 U.S.C. § 4247(d).

       IT IS FURTHER ORDERED the period of time required for testing and evaluation

of Defendant and preparation of the written report is excludable from calculation under the

Speedy Trial Act. 18 U.S.C. § 3161(h)(l)(A).

       SO ORDERED this 20th day of November, 2017, at Augusta, Georgia.




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